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LINDABURY

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October 4, 2022

Via Electronic Filing

Clerk, United States District Court

District of New Jersey

Clarkson S. Fisher Building and US Courthouse
402 East State Street

Trenton, NJ 08608

Re: Andrew Ritz and Michael Ritz vs. Nissan-Infiniti, LT, et al.
Civil Action No. 3:20-cv-13509

Dear Sir/Madam:

Please be advised that this office represents the Defendant, Nissan Motor Acceptance
Corporation (hereinafter referred to as “NMAC”), improperly pled as Nissan-Infiniti, LT in the
above matter.

In accordance with the Order referenced in a letter dated June 14, 2022, NMAC’s reply

papers to Plaintiffs’ opposition to NMAC’s motion for summary judgment are due on or before
October 15, 2022.

I write this letter since NMAC’s filing of its summary judgment motion reflected a return
date of October 3, 2022.

Should the Court have any questions, please do not hesitate to contact counsel. I thank
you in advance for your anticipated cooperation.

Respectfully submitted,

Lindabury, McCormick, eo & Cooper, P.C.
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Steven L. Fox, Esq.

SLF/jc
cc: All Counsel of Record (via ECF)
Client (via email)

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